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        ORDERED in the Southern District of Florida on November 11, 2019.




                                  UNITED STATES BANKRUPTCY       COURT
                                                   Laurel M. Isicoff
                                   SOUTHERN DISTRICT  OF
                                                   Chief   FLORIDA
                                                         United  States Bankruptcy Judge
_____________________________________________________________________________
        In re:                                                 Case No. 19-24420 BKC -LMI
        DONALD ELMS,                                           Chapter 13


                    Debtor(s)              /


                       ORDER GRANTING MOTION TO CONTINUE THE CHAPTER 13 STAY

               This matter having come to be heard on November 5, 2019 upon the Debtors’ Motion to

        Continue the Automatic Stay and the Court being otherwise advised in the premises, it is: ORDERED

        and ADJUDGED as follows:

               1.   The Debtor’s Motion to Continue the Automatic Stay in this matter is hereby Granted;

               2.   The Automatic Stay shall continue until modified or terminated by Order of this Court.

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         Submitted by:
        PAUL N. CONTESSA, ESQUIRE
        ATTORNEY FOR DONALD ELMS
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                Paul N. Contessa, Esq. is directed to serve copies of this Order on all parties and file a certificate
        of service.
